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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


STEVEN THARP, Individually and On Behalf      No. 17-cv-11504-WGY
of All Others Similarly Situated,             (LEAD DOCKET)

                         Plaintiff,           MEMORANDUM OF POINTS AND
                                              AUTHORITIES IN SUPPORT
       v.                                     OF FEDERAL PLAINTIFFS’
                                              UNOPPOSED MOTION FOR
ACACIA COMMUNICATIONS, INC.,                  PRELIMINARY APPROVAL OF
MURUGESAN SHANMUGARAJ, and JOHN               SETTLEMENT
F. GAVIN,

                         Defendants.


KAREN COLGAN, Derivatively on Behalf of       No. 17-cv-12350-WGY
ACACIA COMMUNICATIONS, INC.,

                         Plaintiff,

       v.

MURUGESAN SHANMUGARAJ, BENNY P.
MIKKELSEN, JOHN F. GAVIN, FRANCIS J.
MURPHY, BHUPENDRA C. SHAH,
CHRISTIAN J. RASMUSSEN, MEHRDAD
GIVEHCHI, VINCENT T. ROCHE, STAN J.
REISS, ERIC A. SWANSON, PETER Y.
CHUNG, and JOHN RITCHIE,

                         Defendants,

       and

ACACIA COMMUNICATIONS, INC.,

                         Nominal Defendant.


[Caption continued on next page.]
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JONATHAN WONG, Derivatively on Behalf        No. 17-cv-12550-WGY
of ACACIA COMMUNICATIONS, INC.,
                     Plaintiff,
      v.
MURUGESAN SHANMUGARAJ, JOHN F.
GAVIN, BENNY P. MIKKELSEN, FRANCIS
J. MURPHY, BHUPENDRA C. SHAH,
CHRISTIAN J. RASMUSSEN, MEHRDAD
GIVEHCHI, ERIC A. SWANSON, STAN J.
REISS, PETER Y. CHUNG, JOHN RITCHIE,
and VINCENT T. ROCHE,
                     Defendants,
      and
ACACIA COMMUNICATIONS, INC.,
                     Nominal Defendant.

SANDRA FARAH-FRANCO and RUSSELL              No. 1:18-cv-10465-WGY
GOURLEY, Derivatively on Behalf of Nominal
Defendant ACACIA COMMUNICATIONS,
INC.,
                     Plaintiffs,
      v.
MURUGESAN SHANMUGARAJ, BENNY P.
MIKKELSEN, PETER Y. CHUNG, STAN J.
REISS, JOHN RITCHIE, VINCENT T.
ROCHE, ERIC A. SWANSON, JOHN F.
GAVIN, MEHRDAD GIVEHCHI, FRANCIS J.
MURPHY, CHRISTIAN J. RASMUSSEN, and
BHUPENDRA C. SHAH,
                     Defendants,
      and
ACACIA COMMUNICATIONS, INC.,
                     Nominal Defendant.
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I.      INTRODUCTION

        Plaintiffs and Defendants have reached a settlement (the “Settlement”) in the above-

captioned actions (the “Federal Actions”), resolving claims brought derivatively on behalf of

Acacia Communications, Inc. (“Acacia” or the “Company”). 1 As a result, Plaintiffs now seek an

order from the Court: (i) granting preliminary approval of the proposed Settlement; (ii) directing

that notice of the proposed Settlement be given to Acacia’s stockholders in the proposed form

and manner; and (iii) scheduling a hearing before the Court to determine whether the proposed

Settlement should be granted final approval. As set forth in detail herein and in the Stipulation

of Settlement attached hereto (“Stipulation”), the proposed Settlement finally resolves all the

claims asserted in the Federal Actions, as well as a related shareholder action captioned

Silberberg v. Acacia Commc’ns, Inc., No. 2018-0262-TMT, in the Delaware Court of Chancery

(the “Delaware Action”).

        The Settlement is the product of extensive, arm’s-length negotiations among the Parties

to the Federal Actions and the Delaware Action. Pursuant to the terms of the Settlement, Acacia

has implemented, or agreed to implement, corporate governance reforms that the Plaintiffs

sought, so as to strengthen internal controls, improve compliance policies and reporting

procedures, and enhance the independence and accountability of the Company’s Board of

Directors (the “Board”) (collectively, the “Corporate Reforms”).              It is undisputed that the

Company’s decision to implement the Corporate Reforms provides real benefits to Acacia and

the Company’s stockholders. In sum, the Settlement provides significant and material benefit to

the Company, was reached after intensive arm’s-length negotiations between experienced and

informed counsel on both sides, and is well within the range of what might be approved as fair,


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         All capitalized terms, unless otherwise defined herein, have the same meaning given to them in the
Stipulation.


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reasonable, and adequate at a final approval hearing. Accordingly, Plaintiffs respectfully submit

that the Court should grant preliminary approval of the Settlement and provide for notice to

Acacia’s stockholders.

II.    BACKGROUND

       A.     Factual and Procedural History

       Acacia designs, develops, manufactures, and markets communications equipment. The

Company offers highspeed, coherent optical interconnect products for cloud infrastructure

operators and content and communication service providers worldwide.          Acacia’s products

enable “industry leading speed, density, and power efficiency.” Acacia’s stock trades on the

NASDAQ Stock Exchange under the ticker symbol “ACIA.” Acacia is a corporation duly

organized and existing under the laws of the State of Delaware and maintains its principal place

of business and executive offices at Three Mill and Main Place, Suite 400, Maynard, MA 01754.

In May 2016, Acacia conducted its initial public offering (“IPO”).

       In connection with the IPO, certain Company insiders and investors entered into

agreements that prohibited them from selling any Acacia common stock until November 8, 2016

(the “Lock-Up Agreements”). Private equity firms that owned a majority of the outstanding

shares of Acacia, as well as all of Acacia’s officers, directors, and employees, were granted

partial early releases from the Lock-Up Agreements.        On October 7, 2016, the Company

conducted a secondary stock offering (the “Secondary Offering”). These private equity firms, a

majority of the members of Acacia’s Board, and certain executives sold Acacia common stock in

the Secondary Offering.

       Acacia’s two largest customers – which together accounted for more than 50% of

Acacia’s revenues as of the third quarter of 2016 – were ZTE and ADVA. Acacia’s contracts

with both ZTE and ADVA required them to provide Acacia with non-binding, regular, rolling


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forecasts of their product demands (these contracts also gave ZTE and ADVA broad order

cancellation rights). On October 27, 2016, ADVA and ZTE issued earnings releases and forward

earnings guidance. More specifically, ZTE announced sales results for the third quarter of 2016

and provided sales guidance for the full 2016 fiscal year that allegedly were lower than market

expectations.   On the same day, ADVA also announced earnings guidance for 2016 that

allegedly was below market expectations. The Company’s stock price dropped over 15% on

October 27, 2016, closing at $73.66.

       On May 31, 2017, Acacia issued a press release and SEC Form 8-K disclosing that it had

discovered a quality issue with some of the components manufactured by one of its contract

manufacturers. On July 14, 2017, Acacia issued a press release announcing preliminary financial

results for the second quarter of 2017, which disclosed that its “results were adversely affected

by the quality issue” that Acacia had disclosed previously.

       On November 29, 2017, Plaintiff Colgan filed a derivative complaint on behalf of the

Company in the U.S. District Court for the District of Massachusetts (the “Court”) alleging

breaches of fiduciary duty against certain directors and officers of Acacia. On December 22,

2017, Plaintiff Jonathan Wong filed a derivative complaint on behalf of the Company alleging

breaches of fiduciary duty against certain directors and officers of Acacia in the Court.

       By letters dated December 6, 2017 and December 15, 2017, respectively, Plaintiffs

Russell Gourley and Sandra Farah-Franco made demands on the Company pursuant to 8 Del. C.

§220 (“Section 220”) to inspect certain of the Company’s books and records. On March 13,

2018, after reviewing documents provided by the Company pursuant the Section 220 demands

(the “220 Documents”), Plaintiffs Farah-Franco and Gourley filed a derivative complaint on

behalf of the Company in the Court against certain directors and officers of Acacia.




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       Plaintiffs Gourley and Farah-Franco alleged that Defendants breached their fiduciary

duties of loyalty, good faith, and candor and wasted corporate assets, causing harm to Acacia by,

among other things: (i) engaging in insider trading themselves, or consciously allowing their co-

directors to engage in such trading in excess of $300 million (including trading after the

Secondary Offering pursuant to Rule 10b5-1 plans) while allegedly in possession of non-public

forecast information from ADVA and ZTE; (ii) failing to establish adequate internal controls;

(iii) omitting material information from the offering documents for the Secondary Offering, in

violation of the Securities Act of 1933 (the “Securities Act”); and (iv) allowing the Company to

omit material information from other filings with the SEC in violation of §10(b) and Rule 10b-5

of the Securities Exchange Act of 1934.

       On April 20, 2018, the Court appointed Plaintiffs Colgan, Farah-Franco, and Gourley as

lead plaintiffs for the derivative actions. On May 30, 2018, lead derivative plaintiffs filed a

consolidated amended derivative complaint.          By letter dated February 12, 2018, Plaintiff

Silberberg made a demand on the Company pursuant to Section 220 to inspect certain of the

Company’s books and records to determine whether the Company’s officers and directors

breached their fiduciary duties by permitting an early release of the Lock-Up Agreement and

selling Company shares while in possession of material non-public information.            Plaintiff

Silberberg and Acacia agreed on the scope of responsive documents, but they could not agree on

the terms for a confidentiality agreement to govern the inspection of the requested records.

       On April 9, 2018, Plaintiff Silberberg filed the Delaware Action in the Court of Chancery

of the State of Delaware (“Chancery Court”). In the Delaware Action, Plaintiff Silberberg stated

the purpose of the books and records demand, and sought certain changes to the confidentiality

agreement proposed by the Company. On May 1, 2018, Plaintiff Silberberg filed a motion for




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judgment on the pleadings. On May 11, 2018, the Company filed its opposition and cross-

motion for judgment on the pleadings. On May 16, 2018, Plaintiff Silberberg filed a reply brief.

On May 29, 2018, the Chancery Court held a telephonic hearing and ruled for Plaintiff

Silberberg in all respects. On June 1, 2018, the Chancery Court issued a final order granting

Plaintiff Silberberg’s motion and entering judgment. On June 1, 2018, Acacia produced 523

pages of documents to Plaintiff Silberberg. On June 7, 2018, Acacia produced an additional 557

pages of documents to Plaintiff Silberberg.

        In late June 2018, the Parties agreed to mediate these Actions. The Parties retained

Michelle Yoshida (“Ms. Yoshida”) of Phillips ADR to mediate their dispute. Acacia provide

certain discovery in advance of the mediation.       On July 16, 2018, the Parties exchanged

mediation statements, and the Plaintiffs made a settlement demand. Prior to the mediation, the

Parties separately had multiple phone calls with Ms. Yoshida to discuss the merits of their

allegations and their respective positions. On July 19, 2018, the Parties attended mediation in

New York, New York, before Ms. Yoshida. After a full day session, the Parties reached an

agreement in principle on substantive terms to settle the Actions and executed a memorandum of

understanding (the “MOU”). This Stipulation memorializes the terms of the Parties’ agreement

to settle the Actions.

        Plaintiffs have owned shares of Acacia common stock since the outset of the Actions and

continue to do so. Plaintiffs, having thoroughly considered the facts and law underlying the

Actions, and based upon their investigation and prosecution of the Actions and the mediation

that led to the Settlement, and after weighing the risks of continued litigation, have determined

that it is in the best interests of Acacia and Acacia’s stockholders that the Actions be fully and

finally settled in the manner and upon the terms and conditions set forth in this Stipulation, and




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that these terms and conditions are fair, reasonable, and adequate to Acacia and Acacia’s

stockholders.

       B.       The Terms of the Proposed Derivative Settlement.

       In consideration of the Settlement, Acacia has agreed to adopt the corporate governance

changes below for a period of three years.

                a.     Insider Trading Policy and Compliance. Acacia will form a Trading

       Compliance Committee, which will consist of the Chief Financial Officer, General

       Counsel/Principal Legal Officer, and Corporate Counsel.

                       i.     The Trading Compliance Committee will be responsible for

                overseeing compliance with the Company’s Insider Trading Policy and 10b5-1

                Plan Guidelines, including reviewing and approving: (i) all proposed transactions

                in Acacia stock by the Company’s directors and those employees subject to

                Section 16 of the Securities Exchange Act; (ii) 10b5-1 plans (and any

                modifications or changes to such plans) entered into by such directors and

                employees; and (iii) any requests for waivers/exceptions to the Insider Trading

                Policy and 10b5-1 Plan Guidelines.

                       ii.    The Audit Committee will be responsible for (i) reviewing and

                approving the Insider Trading Policy and 10b5-1 Plan Guidelines and any

                amendments and modifications thereto; and (ii) conducting quarterly reviews of

                the activities of the Trading Compliance Committee.

                       iii.   The Trading Compliance Committee will make quarterly reports to

                the Audit Committee concerning transactions and plans under the Insider Trading

                Policy and 10b5-1 Plan Guidelines reviewed during the prior quarterly period.




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               iv.    Acacia will add the following language to its Insider Trading

       Policy: “In the event of a material violation of this policy, the Company reserves

       all its available rights and remedies with respect thereto, up to and including

       termination of employment and disgorgement of profits.”

               v.     Defendants will disclose Acacia’s Insider Trading Policy promptly

       following the policy’s next revision, which will be presented to the Audit

       Committee and the Board at their next meetings, currently scheduled for October

       2018.

               vi.    No member of the Trading Compliance Committee will participate

       in the deliberations, review, or approval of his or her own trading or plans.

       b.      Approval of Lock-Up Releases or Black-Out Periods. The Trading

Compliance Committee will provide recommendations to the Audit Committee on

whether to approve any requests to waive any lock-up provisions or blackout trading

restrictions, which will then be subject to approval by the Audit Committee. No member

of the Audit Committee will participate in the deliberations, review, or approval of any

request to waive any lock-up provisions or blackout trading restrictions made by such

committee member or committee member’s affiliate.

       c.      Improved Internal Controls and Reporting.

               i.     Acacia will amend Section B.4. of its Governance Guidelines by

       amending the following provisions as indicated:

                      *    Current business and financial performance, including the

               degree of achievement of approved objectives, manufacturing protocols

               and quality controls, and the need to address forward-planning issues.




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                               *    Future business prospects and forecasts, including actions,

                       facilities, product demand, personnel and financial resources required to

                       achieve forecasted results.

                       ii.     The Audit Committee and Trading Compliance Committee will

               receive quarterly information concerning demand, manufacturing issues, and

               quality control issues.

                       iii.    The Disclosure Committee will adopt a resolution at its next

               meeting to expand the group of quarterly certifying employees beyond executive

               management, finance, and legal personnel to include selected employees in sales

               and engineering who have contact with customers and access to forecast data.

                       iv.     The Chair of the Disclosure Committee will report to the Audit

               Committee on a quarterly basis.

               d.      Board Composition. As of the mediation date, Acacia was in the process

       of identifying new independent director candidates. Acacia commits to appoint a new

       independent director by the end of 2019. Acacia commits to including in the slate of

       potential candidates no less than a majority of gender diverse candidates and to make

       gender diversity a top priority in its search.

       C.      The Parties Support the Settlement

       Plaintiffs have owned shares of Acacia common stock since the outset of the Actions and

continue to do so. Plaintiffs, having thoroughly considered the facts and law underlying the

Actions, and based upon their investigation and prosecution of the Actions and the mediation

that led to the Settlement, and after weighing the risks of continued litigation, have determined

that it is in the best interests of Acacia and Acacia’s stockholders that the Actions be fully and

finally settled in the manner and upon the terms and conditions set forth in this Stipulation, and


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that these terms and conditions are fair, reasonable, and adequate to Acacia and Acacia’s

stockholders.

       Likewise, the Defendants and Acacia support the Settlement as in the best interest of the

Company. In addition, the director(s) not named as defendants in any of the above-referenced

actions approve this settlement as in the best interests of the Company.

III.   THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL

       A.       The Standard for Preliminary Approval

       Under Rule 23.1(c) of the Federal Rules of Civil Procedure, “[a] derivative action may be

settled, voluntarily dismissed, or compromised only with the court’s approval.” Court approval

of a derivative settlement involves two steps: (1) determining “whether the proposed settlement

is ‘within the range of possible approval’” such that notice of the settlement should be provided

to stockholders, referred to as preliminary approval; and (2) after such notice has been provided,

holding a fairness hearing to determine whether the settlement is fair, reasonable, and adequate,

referred to as final approval. Armstrong v. Bd. of Sch. Dirs. of the City of Milwaukee, 616 F.2d

305, 314 (7th Cir. 1980); see also MANUAL FOR COMPLEX LITIGATION (FOURTH) §13.14 (2004)

(setting forth the approval procedure for settlement of a shareholder derivative action).

       The purpose of preliminary approval is to determine whether to notify a company’s

stockholders of the proposed settlement and whether to proceed with a fairness hearing. See

MANUAL FOR COMPLEX LITIGATION (THIRD) §30.41 (1995) (“If the preliminary evaluation of the

proposed settlement does not disclose grounds to doubt its fairness or other obvious deficiencies

. . . and appears to fall within the range of possible approval, the court should direct that notice

. . . be given to the [stockholders] of a formal fairness hearing, at which arguments and evidence

may be presented in support of and in opposition to the settlement.”).




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       At the preliminary approval stage, the Court need only assess whether the proposed

Settlement falls “‘within the range of reasonableness.’” In re Am. Capital S’holder Deriv. Litig.,

No. 11-2424 PJM, 2013 WL 3322294, at *3 (D. Md. June 28, 2013) (quoting In re Lupron Mktg.

& Sales Practices Litig., 345 F. Supp. 2d 135, 139 (D. Mass. 2004)); Rand v. M/A-Com, Inc.,

No. 86-1347-N, 1993 WL 410874, at *3 (D. Mass. July 19, 1993). Thus, in order to grant

preliminary approval, the Court need only find that there is probable cause to warrant providing

notice to stockholders and conducting a fairness hearing. See Tiro v. Pub. House Invs., LLC, No.

11 Civ. 7679(CM), 2013 WL 2254551, at *1 (S.D.N.Y. May 22, 2013) (citing In Traffic Exec.

Ass’n, 627 F.2d 631, 634 (2d Cir. 1980)); see also Am. Int’l Grp., Inc. v. ACE INA Holdings,

Inc., No. 07 C 2898, 2011 WL 3290302, at *6 (N.D. Ill. July 26, 2011) (“At the preliminary

approval stage, . . . the court’s task is merely to ‘determine whether the proposed settlement is

within the range of possible approval,’ not to conduct a full-fledged inquiry into whether the

settlement meets [the requirements for final approval].”). Here, the Settlement easily meets this

standard.

       B.      The Court Should Grant Preliminary Approval of the Settlement

       Courts have long held that the public interest favors settlement of complex litigation and

is therefore to be encouraged. See Durrett v. Hous. Auth. of City of Providence, 896 F.2d 600,

604 (1st Cir. 1990) (recognizing a “‘clear policy in favor of encouraging settlements’”) (quoting

Metro. Hous. Dev. Corp. v. Village of Arlington Heights, 616 F.2d 1006, 1014 (7th Cir. 1980));

In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir. 2004) (“[T]here is an

overriding public interest in settling class action litigation, and it should therefore be

encouraged.”); In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d

768, 784 (3d Cir. 1995) (explaining that there is a strong policy favoring compromises that

resolve litigation “particularly in class actions and other complex cases where substantial judicial


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resources can be conserved by avoiding formal litigation”).                     “Settlements of shareholder

derivative actions are particularly favored because such litigation ‘is notoriously difficult and

unpredictable.’” Cohn v. Nelson, 375 F. Supp. 2d 844, 852 (E.D. Mo. 2005) (quoting In re Xcel

Energy, Inc., Sec., Deriv. & ERISA Litig., 364 F. Supp. 2d 980, 1002 (D. Minn. 2005)); Maher v.

Zapata Corp., 714 F.2d 436, 455 (5th Cir. 1983); see also Maher, 714 F.2d at 455 (“Settlements

of shareholder derivative actions are particularly favored because such litigation is ‘notoriously

difficult and unpredictable’”); 2 Gen. Motors Corp., 55 F.3d at 784 (noting strong policy favoring

compromises that resolve litigation, “particularly in class actions and other complex cases where

substantial judicial resources can be conserved by avoiding formal litigation”).

       Here, the Corporate Reforms benefit the Company, and are specifically designed to

address the early release from lock-ups, insider trading claims, internal controls, and reporting,

as well as the lack of independence of the Board, which are at issue in the derivative actions. As

such, Plaintiffs sought them so as to prevent any future problems of the type the Plaintiffs

alleged the Company has experienced and to improve the Company’s corporate governance

going forward. This proposed settlement is supported by the Parties, Acacia, and the non-

defendant Board members of Acacia as in the best interest of the Company.

       The most important factor in determining whether to grant preliminary approval of a

derivative settlement is the strength of the case for the plaintiffs on the merits, balanced against

the amount offered in the settlement. Schlusselberg v. Colonial Mgmt. Assoc., Inc., 389 F. Supp.

733, 735 (D. Mass. 1974). Here, the Settlement was reached after extensive arm’s-length

negotiations between and among counsel for the Parties and provides substantial benefits to the

Company and its stockholders while eliminating the expense, risk, and delay inherent in such

complex litigation, including the very real risk of no recovery.                      In connection with the
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       Unless otherwise indicated, all emphasis is added and citations are omitted.


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Settlement, Acacia will adopt, or has adopted, a series of significant reforms that improve the

Company’s overall corporate governance. Thus, for all the reasons stated herein, the settlement

of Plaintiffs’ claims on the agreed-upon terms is “within the range of possible approval,” notice

should be provided to Acacia’s stockholders, and the Court should schedule a hearing date in

connection with the final approval of the Settlement.

       Plaintiffs and their counsel believe that their claims and allegations were and are

meritorious. However, they also recognize the possibility that their claims would not succeed

and they would be unable to secure the substantial relief for Acacia and its stockholders achieved

by the Settlement, and might even fail to obtain any relief at all. Were the litigation to continue,

numerous complex issues of law and fact would need to be resolved at considerable time and

expense to Acacia, the Parties, and the Court, including whether pre-suit demand on the Board

was excused and whether Plaintiff’s factual allegations were sufficient, threshold questions,

which are difficult to overcome.

       Moreover, even if Plaintiffs prevailed on a motion to dismiss, numerous substantive

issues would remain, requiring intensive discovery, extensive motion practice, expert testimony,

a lengthy trial and the possibility of appeals. In comparison, the Settlement is an excellent

immediate result for Acacia, bringing the Company significant corporate governance and

oversight reforms.

       Corporate governance reforms, such as those negotiated in the Settlement, have

supported settlements of countless stockholder derivative actions, as strong corporate governance

is fundamental to a corporation’s well-being and success. See In re NVIDIA Corp. Deriv. Litig.,

No. C-06-06110-SBA (JCS), 2008 WL 5382544, at *3 (N.D. Cal. Dec. 22, 2008). Indeed,

“[c]ourts have recognized that corporate governance reforms such as those achieved here provide




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valuable benefits to public companies.” Id. (quoting Cohn, 375 F. Supp. 2d at 853). The

corporate governance reforms may, in fact, be more valuable to the Company and its

stockholders than any potential monetary award or equitable relief obtained after trial, post-trial

motions, and appeals. See Maher v. Zapata Corp., 714 F.2d 436, 461 (5th Cir. 1983) (“effects of

the suit on the functioning of the corporation may have a substantially greater economic impact

on it, both long- and short-term, than the dollar amount of any likely judgment”).

       “Consideration of the complexity, expense and duration of continued litigation ‘is

intended to capture the probable costs, in both time and money, of continued litigation.’”

Langendorf v. Conseco Senior Health Ins. Co., No. 08-CV-3914, 2009 U.S. Dist. LEXIS

131289, at *22-23 (N.D. Ill. Nov. 18, 2009) (quoting Gen. Motors Corp., 55 F.3d at 812). “By

comparing the significance of immediate recovery with the complexities, expense and likely

duration of continued litigation, a court may assess whether it is proper for the parties ‘to take the

bird in the hand instead of [assuming the risk and cost of pursuing] a prospective flock in the

bush.’” Id. at *23 (quoting Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1323 (S.D. Fla.

2005)). Shareholder derivative actions are notoriously complicated actions that involve complex

legal and factual issues that can be litigated to a conclusion on the merits only at great expense

over an extended period of time, and the Federal Actions would have been no exception. Absent

the Settlement, the claims in the Federal Actions would have continued to be fiercely contested

by the Parties. In all likelihood, continued litigation to a resolution at trial and/or on appeal

would have taken several more years, at a minimum. “Continuing to litigate this case will

require vast expense and a great deal of time, on top of that already expended.” Am. Int’l Grp.,

2011 WL 3290302, at *7. Even if Plaintiffs were to prevail on their claims and establish

liability, the amount of recoverable damages would still have posed significant issues and would




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have been subject to further litigation. New Eng. Carpenters Health Benefits Fund v. First Data

Bank, Inc., 602 F. Supp. 2d 277, 281 (D. Mass. 2009), aff’d sub nom. Nat’l Ass’n of Chain Drug

Stores v. New Eng. Carpenters Health Benefits Fund, 582 F.3d 30 (1st Cir. 2009); In re Relafen

Antitrust Litig., 231 F.R.D 52, 72 (D. Mass. 2005).

       “The court is entitled to rely heavily on the opinion of competent counsel” in approving a

settlement. See Am. Int’l Grp., 2011 WL 3290302, at *8 (internal quotations omitted). Here,

counsel for the Parties have extensive experience in complex litigation of this nature and believe

that the Settlement is fair, reasonable, and adequate in light of the circumstances of this case.

Because the Settlement was reached only after extensive arm’s-length negotiations with a firm

understanding of the factual and legal issues presented and the relative strengths and weaknesses

of their respective claims and defenses, the assessments of counsel for the Parties on the fairness

of the Settlement is entitled to great deference. In re Sumitomo Copper Litig., 189 F.R.D. 274,

280 (S.D.N.Y. 1999) (when settlement negotiations are conducted at arm’s-length, “great

weight” is accorded to the recommendations of counsel, who are most acquainted with the facts

of the underlying litigation”).

       Although the Settlement was reached at a relatively early stage of the litigation, the

Plaintiffs had “sufficient information on the merits of the case to enter into a settlement,” and the

Court has “sufficient information to evaluate such a settlement.”         Parker v. Time Warner

Entertainment Co., L.P., 631 F. Supp. 242, 259 (E.D.N.Y. 2009). There has already been an

extensive exchange of information bearing on the issues and merits of the Federal Actions to

justify preliminary approval of the proposed Settlement. In particular, Plaintiffs conducted a

comprehensive investigation during the development, prosecution, and settlement of the Federal

Actions, including, among other things, inspection of corporate books and records under Section




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220. In addition, the Plaintiffs had the opportunity to thoroughly review the allegations of the

federal securities action filed against the Company and its top officers. Thus, Plaintiffs had

access to sufficient material to evaluate the case and assess the adequacy of the Settlement in

light of the strengths and weaknesses of their position. See Martens v. Smith Barney, Inc., 181

F.R.D. 243, 263 (S.D.N.Y. 1998) (recognizing that “[b]ecause much of the point of settling is to

avoid litigation expenses such as full discovery, ‘it would be inconsistent with the salutary

purposes of settlement,’ to find that ‘extensive pre-trial discovery is a prerequisite to approval’ of

a settlement” (quoting Handschu v. Special Servs. Div., 787 F.2d 828, 834 (2d Cir. 1986); and

Plummer v. Chem. Bank, 668 F.2d 654, 660 (2d Cir. 1982)).

IV.    THE COURT SHOULD APPROVE THE FORM AND MANNER OF NOTICE

       Plaintiffs seek Court approval of the proposed form and manner of notice of the

Settlement to current Acacia stockholders and seeks entry of an order directing such notice. The

Stipulation provides that the Notice of Pendency of Derivative Action, Proposed Settlement of

Derivative Action, Settlement Hearing, and Right to Appear (“Notice”), substantially in the form

attached to the Stipulation as Exhibit B, shall be attached to a Form 8-K filed with the SEC, and

posted on Acacia’s website until the Court holds the Settlement Hearing or the Settlement is

terminated. In addition, the Summary Notice of Pendency of Derivative Action, Proposed

Settlement of Derivative Action, Settlement Hearing, and Right to Appear (“Summary Notice”),

substantially in the form attached to the Stipulation as Exhibit C, will be published once in

Investor’s Business Daily. The proposed Notice and Summary Notice describe in plain English

the terms and conditions of the proposed Settlement, including: (i) the payment of Plaintiffs’

Counsel’s attorneys’ fees and expenses; (ii) the facts and considerations that caused the Settling

Parties and their respective counsel to conclude that the proposed Settlement is fair, reasonable,

adequate, and in Acacia’s best interests; (iii) the procedure for objecting to the proposed


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Settlement; and (iv) the date, place, and time of the Settlement Hearing.           See Stipulation,

Exhibits B-C. The proposed Notice and Summary Notice are reasonably calculated to apprise

Acacia stockholders of the pendency and Settlement of the Action and afford them an

opportunity to present their objections. See Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S.

306, 314 (1950) (holding that notice should be “reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections”).     The use of website posting coupled with other

publication has gained broad acceptance in light of the rapid transition of the investment

community from a paper-based to a web-based disclosure system. See Use of Electronic Media

for Delivery Purposes, SEC Release No. 33-7233, 60 Fed. Reg. 53458, 53459 (Oct. 6, 1995)

(“The Commission believes that the use of electronic media should be at least an equal

alternative to the use of paper-based media.”). As such, courts have held that the publication of

notice to stockholders – on the company’s website and/or in an investor publication, such as

Investor’s Business Daily – “sufficiently apprise[s] . . . shareholders of the nature of the proposed

settlement, the upcoming public hearing on the matter, and the opportunity to object.” Arace v.

Thompson, No. 08 Civ. 7905(DC), 2011 WL 3627716, at *4 (S.D.N.Y. Aug. 17, 2011) (in

derivative settlement, approving publication by summary notice in Investor’s Business Daily)

(citing In re PMC-Sierra, Inc. Deriv. Litig., No. 06 Civ. 05330(RS), 2010 U.S. Dist. LEXIS

5818, at *4 (N.D. Cal. Jan. 26, 2010) (approving notice of proposed derivative settlement by

publication in Investor’s Business Daily and on company’s website); see also Mass. Gen. Laws

ch. 156D, §7.45. Here, the form and manner of the proposed notice, including publication and

website posting, constitute the best notice practicable under the circumstances and satisfy the

requirements of Fed. R. Civ. P. 23.1, due process, and any other applicable law.




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V.     PROPOSED SCHEDULE OF EVENTS

       In connection with preliminary approval of the Settlement, Plaintiffs request that the

Court establish dates by which the Notice will be disseminated to Acacia stockholders and by

which Acacia stockholders may comment on the Settlement, and a date for the Settlement

Hearing. As set forth in the Preliminary Approval Order, the Plaintiffs propose the following:


 The Final Settlement Hearing                       At least ninety (90) calendar days from the
                                                    date when the Court enters the Preliminary
                                                    Approval Order
 The Company shall file a Form 8-K                  Fourteen (14) calendar days from the date
 containing the Notice with the SEC and post        when the Court enters the Preliminary
 the Notice on the Company’s website; the           Approval Order
 Company shall publish the Summary Notice
 in Investor’s Business Daily

 All papers in support of the Settlement and   At least forty-two (42) calendar days prior to
 the Fee Award filed with the Court and served the Settlement Hearing
 upon all parties

 Counsel for the Company shall file with the        At least ten (10) calendar days prior to the
 Court proof, by affidavit or declaration, of       Settlement Hearing
 dissemination of the Notice

 Defendants shall file and serve papers, if any,    At least twenty-one (21) calendar days prior
 in opposition to the Settlement or Fee Award       to the Settlement Hearing

 All papers in opposition to the Settlement or At least fourteen (14) calendar days prior to
 the Fee Award filed with the Court and served the Settlement Hearing
 upon all parties

 Any reply papers in support of the Settlement      At least seven (7) calendar days prior to the
 or Fee Award and response(s) to objections         Settlement Hearing
 filed with the Court and served upon all
 parties


       This schedule, similar to those used in numerous derivative settlements, affords due

process to the Company’s stockholders with concerning their rights with respect to the

Settlement.


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VI.    CONCLUSION

       Based on the foregoing, Plaintiffs respectfully request that the Court enter an order:

(i) granting preliminary approval of the proposed Settlement; (ii) directing that notice of the

proposed Settlement be given to Acacia’s stockholders in the proposed form and manner; and

(iii) scheduling a hearing before the Court to determine whether the proposed Settlement should

be finally approved.

DATED: September 14, 2018                  SCOTT+SCOTT ATTORNEYS AT LAW LLP

                                            /s/ Geoffrey M. Johnson
                                           Geoffrey M. Johnson (admitted pro hac vice)
                                           12434 Cedar Road, Suite 12
                                           Cleveland Heights, OH 44118
                                           Telephone: (216) 229-6088
                                           Facsimile: (860) 537-4432
                                           gjohnson@scott-scott.com

                                           Amanda F. Lawrence (BBO# 568737)
                                           David R. Scott
                                           SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                           156 South Main Street
                                           P.O. Box 192
                                           Colchester, CT 06415
                                           Telephone: (860) 537-5537
                                           Facsimile: (860) 537-4432
                                           alawrence@scott-scott.com
                                           david.scott@scott-scott.com

                                           Joe Pettigrew
                                           SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                           600 W. Broadway, Suite 3300
                                           San Diego, CA 92101
                                           Telephone: (619) 233-4565
                                           Facsimile: (619) 233-0508
                                           jpettigrew@scott-scott.com

                                           Steven R. Wedeking (admitted pro hac vice)
                                           Brian J. Robbins
                                           Felipe J. Arroyo (admitted pro hac vice)
                                           ROBBINS ARROYO LLP
                                           600 B Street, Suite 1900
                                           San Diego, CA 92101


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                             Telephone: (619) 525-3990
                             Facsimile: (619) 525-3991
                             brobbins@robbinsarroyo.com
                             farroyo@robbinsarroyo.com
                             swedeking@robbinsarroyo.com

                             Co-Lead Counsel for Federal Plaintiffs




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                               CERTIFICATE OF SERVICE

       I, Geoffrey M. Johnson, hereby certify that this document filed through the CM/ECF

system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing on this 14th day of September, 2018.

                                                     /s/ Geoffrey M. Johnson
                                                    Geoffrey M. Johnson (admitted pro hac vice)




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